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 Attorneys for Defendant Brent Smith


                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF UTAH


  KATE GRANT AND KARMANN
  KASTEN, LLC,                                          Case No: 2:23-cv-00936-AMA-CMR

         Plaintiff,                                        NOTICE OF APPEARANCE

  vs.

  KEVIN LONG; MILLCREEK                                 District Judge Ann Marie McIff Allen
  COMMERCIAL PROPERTIES, LLC;                           Magistrate Judge Cecilia M. Romero
  COLLIERS INTERNATIONAL; BRENT
  SMITH; SPENCER TAYLOR; BLAKE
  MCDOUGAL; and MARY STREET,

         Defendants.


        Notice is hereby given of the entry of the undersigned as counsel for Defendant Brent Smith

 in the above-captioned action. All further notices and copies of pleadings, papers and other

 material relevant to this action should be directed to and served upon:




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       DATED this 24th day of February, 2025.

                                         WORKMAN NYDEGGER


                                         By: /s/ Brian N. Platt
                                         Brian N. Platt
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